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 1   KENNY N. GIFFARD, State Bar No. 101727
     Attorney at Law
 2   2214 21st Street
     Sacramento, California 95818
 3   Telephone: (916) 456-3030
 4   Attorney for Defendant
     ILIE ZDRAGAT
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                          Case No. 2:12-cr-00387-MCE
11
                                 Plaintiffs,            STIPULATION AND ORDER
12
     vs.
13
     ILIE ZDRAGAT,
14
                    Defendant.
15                                                  /
16          It is hereby stipulated and agreed to by the United States of America
17   through TODD D. LERAS, Assistant United States Attorney, and defendant ILIE
18   ZDRAGAT, by and through his attorney, KENNY N. GIFFARD, that the status
19   conference set for Thursday, November 29, 2012, be continued to a status conference on
20   Thursday, January 24, 2013, at 9:00 a.m.
21          This continuance is being requested because defense counsel needs time to
22   prepare for trial, to review discovery, and to interview witnesses. The parties anticipate
23   that the discovery to be delivered to defendant will be voluminous because of the nature
24   of the case.
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26   ///
27   ///
28   ///
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 1          Furthermore, the parties stipulate and agree that the interests of justice
 2   served by granting this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial. (18 U.S.C. §3161(h)(A)).
 4          Speedy trial time is to be excluded from the date of this order through the
 5   date of the status conference set for January 24, 2013, pursuant to 18 U.S.C. §
 6   3161(h)(7)(B)(iv) (reasonable time to prepare) (Local Code T4).
 7   Dated: November 27, 2012
 8                                              Respectfully submitted,
 9
10                                              /s/ Kenny N. Giffard
11
                                                KENNY N. GIFFARD
12                                              Attorney for Defendant
                                                ILIE ZDRAGAT
13
14
                                                /s/ Kenny N. Giffard for
15                                              ______________________________________
                                                TODD D. LERAS
16                                              Assistant U.S. Attorney
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      Case 2:12-cr-00370-GEB Document 20 Filed 12/06/12 Page 3 of 3


 1                                              ORDER
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            Based upon the stipulation of the parties and good cause there appearing
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     therefrom, the Court hereby finds that the failure to grant a continuance in this case
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     would deny defense counsel reasonable time necessary for effective preparation, taking
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     into account the exercise of due diligence. The Court specifically finds that the ends of
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     justice served by the granting of such continuance outweigh the interests of the public and
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     the defendant in a speedy trial. Based upon these findings and pursuant to the stipulation
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     of the parties, the Court hereby adopts the stipulation of the parties in its entirety as its
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     order. Time is excluded from computation of time within which the trial of this matter
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     must be commenced beginning from the date of the stipulation through and including
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     January 24, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (reasonable time for
12
     defense counsel to prepare and Local Code T4. A new status conference date is hereby
13
     set for January 24, 2013, at 9:00 a.m.
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15
      Dated: December 6, 2012
16
                                                  ________________________________
17                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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